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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 In re:                                               §      Case No. 22-60043-11
                                                      §
 FREE SPEECH SYSTEMS, LLC                             §
                                                      §
                               Debtor                 §          (Subchapter V)


               SUBCHAPTER V TRUSTEE’S FIRST INTERIM STATUS REPORT

TO THE HONORABLE CHRISTOPHER M. LOPEZ, U.S. BANKRUPTCY JUDGE:

          NOW COMES, MELISSA A. HASELDEN, Subchapter V Trustee (“Trustee”) in the above-

referenced bankruptcy proceeding, and files this Subchapter V Trustee’s First Interim Status Report,

and would respectfully show the Court as follows:

                                               I.
                                           BACKGROUND

          1.     Debtor commenced this bankruptcy case by filing a voluntary petition under chapter

11 of title 11 of the United States Code (the “Bankruptcy Code”) and electing to proceed under

subchapter V of chapter 11 on July 29, 2022 (the “Petition Date”).

          2.     On August 2, 2022, the Office of the United States Trustee for Region 7 appointed

Melissa A. Haselden as the Trustee in this case [Dkt. No. 22].

          3.     On September 20, 2022, the Court entered its Order Expanding Subchapter V

Trustee’s Duties under 11 U.S.C. §1183(b)(2) and requiring Trustee to file a report pursuant to 11

U.S.C. §1106(a)(3) & (4) (“Trustee Order”) [Docket #183].




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                                                     II.

                                         STATUS UPDATE

        4.     Since the entry of the Trustee Order, Trustee engaged counsel and began the

investigatory steps required by the Court.

        5.     The Trustee and counsel toured Debtor’s distribution center and twice visited the

offices/studios.

        6.     The Trustee interviewed the following parties:

               a.      Patrick Riley of Blue Ascension Group (fulfillment provider);

               b.

               c.

               d.      Dr. David Jones of PQPR;

               e.      Joseph Dalessio of Elevated Solutions Group; and

               f.      Mark Schwartz.

        7.     Additionally, the Trustee attended presentations by Bob Roe, consultant to PQPR,

related to origination of PQPR debt, as well as an additional interview of Bob Roe by counsel for the

Sandy Hook Families.

        8.     The Trustee conferred on several occasions with counsel for the Sandy Hook

Families, counsel for the Debtor and Counsel for Alex Jones.

        9.     Trustee received certain financial information from the following parties related to

transactions with the Debtor:

               a.

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                 b.     PQPR

        10.      Trustee served Rule 2004 document requests on the Debtor and PQPR. Additionally,

documents have been received or are forthcoming pursuant to request by the Trustee from numerous

other parties, including Alex Jones.

        11.      Trustee worked with counsel for the Debtor to locate a CRO. Additionally, the

Trustee identified and negotiated a proposed engagement of M3 Partners to assist her with her

investigation.

        12.      Trustee, through counsel, worked with the various constituencies in this case to

facilitate a mediation amongst the parties in an effort to attain terms for a consensual plan. Judge

Marvin Isgur agreed to mediate this matter.

                                                     Respectfully Submitted,

                                                     HASELDEN FARROW PLLC

                                                     By: /s/ Melissa A. Haselden
                                                     Melissa A. Haselden
                                                     State Bar No. 00794778
                                                     700 Milam, Suite 1300
                                                     Pennzoil Place
                                                     Houston, Texas 77002
                                                     Telephone: (832) 819-1149
                                                     Facsimile: (866) 405-6038
                                                     Email: mhaselden@haseldenfarrow.com
                                                     Subchapter V Trustee




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                                       /s/ Elizabeth C. Freeman
                                       JACKSON WALKER LLP
                                       Elizabeth C. Freeman (TX Bar No. 24009222)
                                       Sean Gallagher (TX Bar No. 24101781)
                                       1401 McKinney Street, Suite 1900
                                       Houston, TX 77010
                                       Telephone: (713) 752-4200
                                       Facsimile: (713) 752-4221
                                       Email: efreeman@jw.com
                                       Email: sgallagher@jw.com


                                       Proposed Counsel to for Melissa Haselden
                                       Subchapter V Trustee




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                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Subchapter V First Interim Status Report
was served on the following parties in interest via ECF on October 11, 2022:



                                                       /s/ Melissa A. Haselden
                                                       Melissa A. Haselden




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